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				HIATT v. MULTIPLE INJURY TRUST FUND2015 OK 77Case Number: 112792Decided: 11/16/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 77, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

RHONDA HIATT, Petitioner,
v.
MULTIPLE INJURY TRUST FUND and THE WORKERS' COMPENSATION COURT, Respondents.
ORDER OF SUMMARY DISPOSITION
¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. S. Ct. Rule 1.201. 
¶2 After reviewing the record in this case, THE COURT FINDS that our recent decision in Ball v. Multiple Injury Trust Fund, 2015 OK 64, ___P.3d___ disposes of the issues in this case. 
¶3 IT IS THEREFORE ORDERED that the Court of Civil Appeals opinion in this case is vacated, and the cause is remanded to the Workers' Compensation Court of Existing Claims for further proceedings. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 16TH day of November, 2015.
/S/VICE CHIEF JUSTICE 
¶4 Combs, V.C.J., Kauger, Watt, Winchester, Edmondson, Taylor, Gurich, JJ., concur.
¶5 Reif, C.J., dissent.
I dissent for the same reasons stated in my dissent in the Ball case.
¶6 Colbert, J., not participating. 










	Citationizer© Summary of Documents Citing This Document
	
	
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	Oklahoma Supreme Court Cases
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&nbsp;2015 OK 64, BALL v. MULTIPLE INJURY TRUST FUNDCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
